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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  CRIMINAL NO. 21-cr-10104-PBS
                                    )
VLADISLAV KLYUSHIN                  )
            Defendant               )
____________________________________)


             AFFIRMATION IN SUPPORT OF PRO HAC VICE ADMISSION

       MARC A. FERNICH, affirms the following under the pains and penalties of perjury:

       1.      I am an attorney duly admitted to practice law in the State of New York and the

Commonwealth of Massachusetts. I submit this Affirmation in support of a motion seeking my

admission to the bar of this Court pro hac vice for the purpose of representing defendant

Vladislav Klyushin.

       2.      I am a member of the bar in good standing in every jurisdiction in which I have

been admitted to practice.

       3.      There are no disciplinary proceedings pending against me as a member of the

bar in any jurisdiction. I have not previously had a pro hac vice admission to this Court or other

admission for a limited purpose revoked for misconduct.

       4.      I have reviewed and agree to comply with the Local Rules of United States

District Court for the District of Massachusetts.



DATED:         April __, 2022

                                                             ______________________________
                                                             MARC A. FERNICH
